Case 1:03-md-01570-GBD-SN Document 9250-3 Filed 07/31/23 Page 1 of 6




                           EXHIBIT 3
Case 1:03-md-01570-GBD-SN Document 9250-3 Filed 07/31/23 Page 2 of 6




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Case 1:03-md-01570-GBD-SN Document 9250-3 Filed 07/31/23 Page 3 of 6
Case 1:03-md-01570-GBD-SN Document 9250-3 Filed 07/31/23 Page 4 of 6
Case 1:03-md-01570-GBD-SN Document 9250-3 Filed 07/31/23 Page 5 of 6
Case 1:03-md-01570-GBD-SN Document 9250-3 Filed 07/31/23 Page 6 of 6
